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                       IN THE UNITED STATES DISTRICT COURT
                       OF THE SOUTHERN DISTRICT OF FLORIDA
                             CASE NO: 24-mj-8124-WM

  UNITED STATES OF AMERICA

  v

  CHRISTOPHER SCHWEIKART
  _____________________________/

          DEFENDANT CHRISTOPHER SCHWEIKART’S RESPONSE TO THE
            GOVERNMENT’S MOTION TO AMEND PROTECTIVE ORDER

         COMES NOW, Defendant, CHRISTOPHER SCHWEIKART (“SCHWEIKART”),

  through undersigned counsel, pursuant to the Fifth, Sixth, and Eighth Amendments to the

  U.S. Constitution, and hereby responds the Government’s Motion to Amend Protective

  Order (“Motion”) [DE 21].

         From the outset, defense acknowledges the following ministerial mistake was

  made by defense in its Motion for Protective Order: counsel forgot to include the Veterans

  Affairs Administration (“VA”) as an affected party in its Motion, but did include the VA in

  defense’s proposed Order. Counsel apologies. Defense stands by its positions.

         Defense maintains that this Court should deny the Government’s Motion and not

  Amend the currently existing Protective Order [DE 17] as it relates to the VA, Palm Beach

  County Sheriff’s Office (“PBSO”), which runs the Palm Beach County Jail (“PBCJ”), and

  the Bureau of Prisons (“BOP”) that they: (1) not disclose to the prosecution or any

  Department of Justice employee, the mental health evaluations conducted on Defendant

  after his arrest on March 16, 2024. The VA, PBSO, PBCJ, and BOP should maintain

  said mental health evaluations outside of SCHWEIKART’s central inmate files.

         1. Defendant was arrested on March 16, 2024, and charged by Criminal

            Complaint, with First Degree Murder Within the Special Maritime or Territorial

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          Jurisdiction of the United States, contrary to 18 U.S.C. 1111 [DE 1].

          SCHWEIKART, according to the Penalty Sheet [DE 1, page 7], is facing a

          maximum punishment of the death penalty and a minimum term of life

          imprisonment. Arraignment is scheduled on August 26, 2024.

       2. The homicide in this case occurred at the Veterans Affairs Medical Center in

          West Palm Beach, Florida, within the Southern District of Florida.

       3. SCHWEIKART is currently housed in the PBCJ Mental Health Unit. During

          SCHWEIKART’s intake process at the PBCJ and during his confinement in the

          PBCJ Mental Health Unit, his mental health observations, notes, reports,

          evaluations, information, and the like (collectively “Evaluations”) continue to be

          generated concerning SCHWEIKART’s mental health.

       4. It is anticipated that after SCHWEIKART is Arraigned on April 26, 2024, BOP

          will transfer SCHWEIKART to the Federal Detention Center Miami, or another

          BOP facility as BOP determines appropriate.

       5. Although defense counsel for SCHWEIKART has not yet seen his evaluations,

          there is a high likelihood that such evaluations may be used against him. The

          PBCJ has an intake process wherein every new arrestee undergoes an intake

          conference wherein mental health issues are discussed. The PBCJ has

          conducted evaluations while SCHWEIKART has been an inmate housed in the

          PBCJ Mental Health Unit, he was observed continually, contemporaneous

          notes are kept on his actions, and the like.

       6. Furthermore, once SCHWEIKART is moved from the PBCJ to BOP, he will be

          required to undergo additional intake interviews, observations, notes, and the




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          like type of mental health process/evaluations. Defense counsel fears these

          evaluations may be used in furtherance of obtaining a guilty verdict and

          thereafter, a possible death sentence.

       7. The prosecution has no legal right to examine the VA, PBCJ and/or BOP

          evaluations. To date, all PBCJ and/or BOP evaluations have been conducted

          without notice to defense counsel and without notice that the subject

          evaluations may be used against him in his pending case. At this early stage,

          there is no reason to provide the Government Defendant’s mental health

          records. Short of asserting mental health defense, the Government has no

          entitlement to the subject evaluation materials. There is no question that the

          prosecution would not be entitled to use the evaluations or any of

          SCHWEIKART’s statements at a future trial on the question of either guilt or

          punishment. Estelle v Smith, 451 U.S. 454, 467-68 (1981). The subject

          evaluations implicate both Fifth and Sixth Amendment concerns. Id. at 465,

          469-71, 473. SCHWEIKART does invoke and not waive his right to remain

          silent under the United States Constitution. Additionally, SCHWEIKART

          invokes his right to remain silent based upon counsel’s advice under the United

          States Constitution.

       8. Federal Rule of Criminal Procedure 12.2 establishes the procedure for

          examinations that may be used at trial, which balances SCHWEIKART’s

          constitutional right against compelled disclosure with fairness to the

          government when a defendant will seek to use the results of such evaluations.

          The purpose of F. R. Cr. P. 12.2 is to secure SCHWEIKART’s Fifth Amendment




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          right against self-incrimination.

       9. It has been consistently recognized that the “qualitative difference between

          death and other penalties calls for a greater degree of reliability when the death

          penalty is imposed”. Lockett v Ohio, 438 U.S. 586, 604 (1978).

       10. It would violate fundamental fairness, due process, and equal protection if

          SCHWEIKART is subject to statements/interviews during his stay in the PBCJ

          and BOP concerning mental health evaluations that will compromise

          Defendant’s inherent rights. Because SCHWEIKART faces a possible death

          sentence, the Court should ensure him heightened protections. The best and

          most efficient way to effectuate same is to order the VA, PBCJ, and BOP to not

          disclose any evaluations to anyone affiliated with the prosecution or

          government investigators, including the Department of Justice, and the

          Department of Veteran Affairs Office of Inspector General Inspector General.

          The Government has failed to produce any authority that specifically speaks to

          the issue before the Court. The authority the Government cites regarding

          certain allowed access to VA patient records is not on point. Same does not

          address the instant alleged conduct and consequences. Upon information and

          belief, the VA, PBCJ and BOP has not, at any time, read Defendant his Miranda

          Warnings prior to any mental health evaluation(s). Should the Government

          prematurely be privy to Defendant’s mental health evaluations, same would

          violate the above case law and constitutional protections we all share. Defense

          admits, there may come a time in the future the Government will be entitled to

          view said mental health evaluations. But until Defendant makes his mental




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          state an issue in this case, the Government has no rights or ability to review

          Defendant’s mental health evaluations.

       11. The possibility of a death sentence requires defense counsel to retain experts

          to adequately prepare for not only the guilty phase but also any potential

          penalty phase. Counsel must ensure that such experts have sufficient

          information to form credible opinions. Some of this evidence comes from

          SCHWEIKART himself. Should the government know of each visit by a

          member of the defense legal team, the government gains an unfair advantage

          and same will have a chilling effect upon defense preparation.

       12. Accordingly, SCHWEIKART’s visitation log should not be seen by the

          Government as it pertains to members of the defense team and potential

          experts they may retain. The Motion does not seek to apply to general visitors.

       13. Accordingly, SCHWEIKART requests this Honorable Court Deny the

          Government’s Motion to Amend Protective Order [DE 21], not change any

          aspect of the Court’s Order previously Granting same [DE 17], and keep in full

          force and effect said Order that sets forth the following protections:

             A. Absent further order of this Court, the VA, PBCJ, and BOP are prohibited

                 from providing to federal prosecutors or investigators the original or

                 copies of any information relating to mental health evaluations of

                 SCHWEIKART conducted on or after March 16, 2024.

             B. Absent further order of this Court, the VA, PBCJ, and BOP be ordered

                 not to place any mental health evaluation materials in SCHWEIKART

                 “central inmate file”.




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               C. Absent further order of this Court, the VA, PBCJ, and BOP be ordered

                   not to disclose the existence of any such information regarding mental

                   health   evaluations   of   SCHWEIKART       to   federal   prosecutors,

                   investigators, or others working for the Government.

               D. Absent further order of this Court, the VA, PBCJ, and BOP be ordered

                   not to access SCHWRIKART’S visitor logs that contain members of the

                   defense team and potential experts they may retain.



        WHEREFORE, SCHWEIKART respectfully requests this Honorable Court deny

  the Government’s Motion to Amend Protective Order for the reasons set forth in

  Defendant’s Motion, Defendant’s instant Response, and any arguments made at

  the hearing concerning this issue set on April 22, 2024.


                                CERTIFICATE OF SERVICE

  Counsel certifies a true & correct copy has been efiled into ECF on April 17, 2024.



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